Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 1 of 6 PageID #: 1




                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION
                                               3:08CV-244-S
                              CIVIL ACTION NO. ___


Electronically Filed Under LR 5.4


CAROLINE J. KOLODZI                                                          PLAINTIFF

v.                                    COMPLAINT

CHASE MANHATTAN BANK USA, N.A.
     Serve: Kentucky Secretary of State
            Summonses Branch
            700 Capital Avenue, Suite 86
            Frankfort, Kentucky 40601

MANN BRACKEN, LLC
    Serve: Kentucky Secretary of State
           Summonses Branch
           700 Capital Avenue, Suite 86
           Frankfort, Kentucky 40601


PALISADES COLLECTION, LLC
     Serve: CT Corporations System
            Kentucky Home Life Building
            Louisville, Kentucky 40202                                    DEFENDANTS


                            PRELIMINARY STATEMENT

     1. The Plaintiff, CAROLINE J. KOLODZI, brings this action to recover damages

        and for equitable relief under the provisions of The Fair Debt Collection Practices

        Act (“FDCPA”), 15 U.S.C. §1692 et seq.




                                             1
Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 2 of 6 PageID #: 2




                                    JURISDICTION

   2. Jurisdiction over Plaintiff’s claims is conferred on this Court pursuant to 28

      U.S.C. §1331 and 15 U.S.C. §1692 et seq.

                                        PARTIES

   3. The Plaintiff, CAROLINE J. KOLODZI (hereinafter “Plaintiff”), was, and is, at

      all times mentioned herein, a natural person and a resident and citizen of Jefferson

      County, Kentucky.

   4. The Defendant, CHASE MANHATTAN BANK USA, N.A. (hereinafter “Chase

      Manhattan”), was, and is, at all times mentioned herein, a national banking

      association, organized and existing under the laws of the State of Delaware, and

      also conducting and doing business in the Commonwealth of Kentucky on a

      regular, consistent and ongoing basis.

   5. The Defendant, MANN BRACKEN, LLC (hereinafter “Mann Bracken”), was,

      and is, at all times mentioned herein, a national collection agency, and an assignee

      of Chase Manhattan, organized and existing under the laws of the State of

      Delaware, and also conducting and doing business in the Commonwealth of

      Kentucky on a regular, consistent and ongoing basis.

   6. The Defendant, PALISADES COLLECTION, LLC (hereinafter “Palisades

      Collection”), was, and is, at all times mentioned herein, a national collection

      agency, and an assignee of Chase Manhattan and/or Mann Bracken, with its

      principal place of business being in the State of New Jersey, and also conducting




                                            2
Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 3 of 6 PageID #: 3




      and doing business in the State of Kentucky on a regular, consistent and ongoing

      basis.

                               FACTUAL ALLEGATIONS

   7. On or about November 19, 1997, Plaintiff’s late husband, ROBERT P.

      KOLODZI, contracted for personal credit card services with the original creditor,

      Heritage Chase, which was later transferred and/or merged to Chase Manhattan.

   8. Plaintiff’s husband was the sole signer of the personal credit card account.

   9. At time of contract, Plaintiff’s husband added his wife, the Plaintiff, as an

      “authorized user” of the account.

   10. Plaintiff never signed the application/contract thereby making her liable on the

      account as a “signer.”

   11. The Credit Card Account Number that forms the basis of this action is

      xxxxxxxxxxxx7046.

   12. Plaintiff’s husband died in October 2004.

   13. After her husband’s death, Plaintiff alerted all credit card companies of his death.

   14. All but Chase Manhattan excused Plaintiff for the simple fact that Plaintiff was

      only an authorized user on the account and not the signer, therefore not liable on

      her husband’s debt.

   15. The unpaid balance of the Chase Manhattan account is $10,140.19.

   16. Since Plaintiff’s husband’s death, various collection agencies working on behalf

      of Chase Manhattan have attempted to recover the amount of the debt.




                                             3
Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 4 of 6 PageID #: 4




   17. Plaintiff has continuously requested validation of the debt in accordance with 15

      U.S.C. §1692(g)(a)(4). Specifically, Plaintiff has simply requested a copy of the

      original credit card application evidencing her signature, if any, thereby making

      her liable on the account.    Chase, and the subsequent collection agencies, Mann

      Bracken and Palisades Collection, have failed to provide this simple request.

   18. In late 2007, Defendant Palisades Collection took over the account and have

      continued the practice of hassling phone calls for payment of a debt in of which

      Plaintiff is not legally bound.

   19. The Defendants Chase Manhattan, Mann Bracken and Palisades Collection,

      collectively, acting on their volition, and/or acting by and through their agents,

      assigns, employees, attorneys, and authorized representatives, at unspecified dates

      and times between the years 2004 and 2008, and without proper justification for

      doing so, in an effort to coerce and intimidate the Plaintiff, and also to extort

      money from the Plaintiff in the form of payment of a credit card debt for which

      the Defendants knew the Plaintiff had no responsibility, made threats to the

      Plaintiff, intimidated the Plaintiff, misrepresented information to the Plaintiff,

      harassed the Plaintiff, humiliated the Plaintiff, and threatened to cause false and

      derogatory credit information about the Plaintiff to be furnished to various credit

      reporting agencies and companies unless the Plaintiff agreed to pay a credit card

      debt for which the Plaintiff was not responsible for paying, and for which the

      Defendant knew the Plaintiff had no responsibility for paying.




                                            4
Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 5 of 6 PageID #: 5




   20. As a direct and proximate result of the acts and actions of these Defendants, as

         described herein-above, the Plaintiff has been caused to suffer irreparable and

         permanent harm and damages, to include financial and economic harm and

         damages, the exact extent of which can not be determined at this time; severe

         emotional distress; physical and emotional pain and suffering; aggravation of

         physical and emotional conditions; embarrassment; humiliation; denial of credit;

         permanently tarnished credit rating; and other such and related harm and

         damages, and the Plaintiff will continue to suffer such harm and damages in the

         future.

                                             PRAYER

   The Plaintiff requests that this Court exercise jurisdiction over these claims and

award:

   1. Full legal and equitable relief under FDCPA;

   2. Compensatory damages;

   3. Punitive damages;

   4. Pre-judgment interest and post-judgment interest;

   5. Trial by jury on all issues triable;

   6. Attorneys’ fees and costs; and

   7. All other relief that the law and equity allow.

This the 12th day of May 2008.




                                              5
Case 3:08-cv-00244-CRS Document 1 Filed 05/08/08 Page 6 of 6 PageID #: 6




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                                    6
